  Case: 1:21-cv-02525 Document #: 133-1 Filed: 10/04/22 Page 1 of 2 PageID #:3583




                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

BLUDGEON RIFFOLA LTD.,
                                                      Case No. 21-cv-02525
              Plaintiff,
                                                      Judge Gary Feinerman
              v.
                                                      Magistrate Judge Beth W. Jantz
ALI GEGE STORE, et al.,
              Defendants.


                      DECLARATION OF JAKE M. CHRISTENSEN

       I, Jake M. Christensen, of the City of Chicago, in the State of Illinois, declare as follows:

1. I am an attorney at law, duly admitted to practice before the Courts of the State of Illinois

   and the United States District Court for the Northern District of Illinois. I am one of the

   attorneys for Plaintiff Bludgeon Riffola Ltd. (“Plaintiff” or “Bludgeon Riffola”). Except as

   otherwise expressly stated to the contrary, I have personal knowledge of the following facts

   and, if called as a witness, I could and would competently testify as follows:

2. Defendant operates the e-commerce store named “Womens Dresses -YIISU” on the

   Amazon.com platform (“Defendant’s E-Commerce Store”). Defendant’s E-Commerce Store

   advertised, offered for sale, and sold the product shown in Figure 1 bearing infringing and

   counterfeit versions of the DEF LEPPARD Trademarks (“Counterfeit Product”).




                                                 1
  Case: 1:21-cv-02525 Document #: 133-1 Filed: 10/04/22 Page 2 of 2 PageID #:3584




                                 Figure 1 – Counterfeit Product

   A true and correct copy of screenshots of Defendant’s E-Commerce Store selling the

   Counterfeit Product is attached hereto as Exhibit 1.

3. Exhibit 2 attached hereto is a true and correct copy of an excerpt of the transcript from the

   August 2, 2021 hearing in this case.

       I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.

       Executed on this the 4th day of October 2022 at Chicago, Illinois.

                                             /s/ Jake M. Christensen
                                             Jake M. Christensen
                                             Plaintiff Bludgeon Riffola Ltd.




                                                2
